         Case 1:17-cr-00965-JB Document 101 Filed 11/15/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,                      CRIMINAL NO. 17-965 JB

vs.

KIRBY CLEVELAND,

                       Defendant.


 UNITED STATES’ UNOPPOSED MOTION TO VACATE AND RE-SET MOTIONS
          HEARINGS SCHEDULED FOR NOVEMBER 26-28, 2018


       The United States of America hereby moves the Court for an order modifying the

Scheduling Order (Doc. 68) and vacating the motions hearings set for November 26, 27, and

28, 2018 as set forth in the Minute Order entered November 14, 2018 (Doc. 99). In support of

the motion, the United States submits:

       1. The Court set aside three days for hearing on motions alleging defects in the

indictment or institution of the proceedings as well as facial challenges relating to capital

punishment in the Scheduling Order entered July 20, 2018 (Doc. 68). By a minute order

entered November 14, 2018, the Court affirmed that it would hear argument regarding eight

motions, at Docs. 72, 73, 74, 75, 77, 78, 80 and 81.

       2. Re-setting the motions hearings may conserve judicial and litigation resources.

        3. Counsel for Defendant does not oppose the requested relief.

       WHEREFORE, for the foregoing reasons, the United States respectfully requests that

the Court vacate and re-set the motions hearing set for November 26-28, 2018.
         Case 1:17-cr-00965-JB Document 101 Filed 11/15/18 Page 2 of 2



                                           Respectfully submitted,

                                          JOHN C. ANDERSON
                                          United States Attorney

                                          Electronically filed November 15, 2018
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I hereby certify that on November 15, 2018
I filed the foregoing electronically through
the CM/ECF system, which caused counsel for
the Defendant to be served by Electronic means,
as more fully reflected on the Notice of Electronic
Filing.


Electronically filed November 15, 2018
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